                         UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                   3:23-cv-819



JANE DOE, BY AND THROUGH HER
PARENTS JANE ROE AND JOHN ROE

              Plaintiff,
                                                               COMPLAINT
      vs.                                                (JURY TRIAL DEMANDED)

AMERICAN AIRLINES GROUP, INC. and
DOES 1-10,

              Defendants.


       NOW COMES Plaintiff JANE DOE, by and through her parents Jane and John Roe,

through the undersigned counsel, complaining of the Defendants, AMERICAN AIRLINES

GROUP, INC. and DOES 1-10, and alleges as follows:

                                       INTRODUCTION

       1.      Plaintiff Jane Doe—a fourteen-year-old girl—asserts claims against American

Airlines, Doe 1 (a currently unidentified male American Airlines flight attendant), and other John

Does based on Doe 1’s surreptitious filming of Plaintiff while she used the airplane toilet during a

flight that originated from Charlotte, North Carolina. Upon information and belief, American

Airlines knew or should have known the flight attendant was a danger. Moreover, American

Airlines’ conduct immediately following the incident, including not immediately confiscating the

flight attendant’s phone and not immediately notifying the pilots, allowed the flight attendant to

destroy evidence, and exacerbated the harm suffered by Plaintiff. Plaintiff has suffered significant

emotional distress and damages as a result of Defendants’ conduct, for which she now seeks relief.




                                    1
      Case 3:23-cv-00819-FDW-DCK Document 1 Filed 12/01/23 Page 1 of 24
                                           JURISDICTION

       2.         Jurisdiction is proper in federal court because this case arises under 28 U.S.C. 1332,

which sets forth diversity jurisdiction.

       3.         Defendant is a corporation headquartered in Texas, with its principal place of

business there.

       4.         Plaintiff is a citizen and resident of North Carolina. Jane Roe and John Roe are

Plaintiff’s parents, citizens and residents of North Carolina, and acting as Jane Doe’s

representatives in this action.

       5.         Jurisdiction is proper in the Western District of North Carolina because the flight

at issue originated out of Charlotte, North Carolina. Additionally, the vast majority of the harm

Plaintiff has suffered has occurred in North Carolina. Furthermore, Charlotte, North Carolina is a

hub for American Airlines, and the airline operates the majority of the flights at the Charlotte

Douglas International Airport in Charlotte, North Carolina.

                                               PARTIES

       6.         Plaintiff is a fourteen-year-old girl and a citizen of Mecklenburg County, North

Carolina.

       7.         Defendant American Airlines Group, Inc. is a Delaware corporation headquartered

in Tarrant County, Texas, that maintains its principal place of business in Texas.

       8.         Doe 1 is a male flight attendant employed by American Airlines who was working

on American Airlines flight 1441 on September 2, 2023. His name and place of residence are

presently unknown to Plaintiff.

       9.         Plaintiff is unaware of the true names and capacities of the Defendants Does 1

through 10. Plaintiff will amend this complaint to show the true names and capacities of these




                                    2
      Case 3:23-cv-00819-FDW-DCK Document 1 Filed 12/01/23 Page 2 of 24
Defendants when ascertained. Plaintiff is informed and believes that each of the Defendants,

including each fictitiously named Defendant, is liable in some manner for the events referred to in

this Complaint.

       10.     At all times relevant to this Complaint, Defendants, and each of them, were acting

as each other’s agents, and were acting within the course and scope of their agency with the full

knowledge, consent, permission, authorization, and ratification, either express or implied, of each

of the other Defendants in performing the acts alleged in this Complaint.

       11.     Defendants are sued herein individually and as principals, participants, and aiders

and abettors in the wrongful conduct complained of and the liability of each arises from the fact

that each as engaged in all or part of the improper acts, plans, conspiracies, or transactions

complained of herein. The acts alleged to have been done by Defendants were authorized, ordered,

or done by them and their officers, agents, employees, or representatives while actively engaged

in the management of each of the Defendants’ affairs.

                                             FACTS

       12.     On September 2, 2023, Plaintiff boarded American Airlines flight number 1441 to

fly from her home in Charlotte, North Carolina to Boston, Massachusetts.

       13.     Her older brother attends school in Boston.

       14.     Together with her parents and younger sister, she was traveling to see her brother

and to help him move into school and set up his room for the fall semester.

       15.     Plaintiff, her younger sister, and her parents were seated together in row 14 in

economy class.

                  Plaintiff Is Secretly Filmed While Using the Plane’s Bathroom

       16.     Midway through the flight, Plaintiff rose from her seat and walked to the middle of




                                    3
      Case 3:23-cv-00819-FDW-DCK Document 1 Filed 12/01/23 Page 3 of 24
the plane to use one of the two restrooms located in the economy class section, closest to her seat.

        17.     Both economy class bathrooms were occupied when she got there, so Plaintiff

waited outside for one of them to vacate.

        18.     She was first in line.

        19.     While she was waiting, a male flight attendant, Doe 1, approached her and told her

that she could use the bathroom located at the front of the plane, in front of the first-class seats,

“because it would be faster.”

        20.     Plaintiff looked down the aisle of the plane and noticed that the “occupied” sign,

located by the first-class bathroom, was lit, indicating that bathroom was also in use.

        21.     Given that the first-class bathroom was also currently occupied, she thought it was

odd that the flight attendant directed her to move to the front of the plane to use that bathroom.

        22.     However, as a fourteen-year-old, she had been taught to respect adults.

        23.     Additionally, given his position as a flight attendant and an authority figure,

Plaintiff felt obligated to follow his directions.

        24.     The flight attendant proceeded to lead Plaintiff down the aisle of the airplane to the

first-class bathroom.

        25.     By the time they arrived, the bathroom had been vacated and was available for use.

        26.     The flight attendant, however, told Plaintiff that he needed to quickly go into the

bathroom first, to wash his hands, because he said the flight crew was about to circulate the plane

to pick up trash.

        27.     Again, this explanation seemed peculiar to Plaintiff, given that it made more sense

for him to wash hands after collecting trash, as opposed to prior to doing so.

        28.     Nevertheless, the male flight attendant entered the bathroom and closed the door,




                                    4
      Case 3:23-cv-00819-FDW-DCK Document 1 Filed 12/01/23 Page 4 of 24
while Plaintiff waited.

        29.    He was in the bathroom for approximately one minute.

        30.    When he emerged, he told Plaintiff: “The toilet seat in there is broken. But don’t

worry about it. We’re going to get it fixed when we get back to Charlotte.”

        31.    Plaintiff entered the bathroom and noticed that the toilet seat lid, which was raised,

had red tape on the lid. On the red tape was black handwriting that said: “SEAT BROKEN.”

        32.    Plaintiff turned around, locked the door, pulled down her pants, and sat on the toilet

seat.

        33.    After she was done using the toilet, she stood and turned around to flush the toilet.

        34.    Upon doing so, she got a better look at the tape on the toilet seat and saw that,

hidden underneath the tape, was a mobile phone.

        35.    The camera lens of the phone and the camera flash were both visible below the

bottom of the tape. The camera flash was on.

        36.    Plaintiff was shocked and scared. It immediately occurred to her that someone had

put the phone there to film her using the toilet.

        37.    She had her own phone with her in the bathroom and she took a photograph of the

toilet seat so that she could show her parents.

        38.    This is the photograph she took:




                                      5
        Case 3:23-cv-00819-FDW-DCK Document 1 Filed 12/01/23 Page 5 of 24
       39.       When she emerged from the bathroom, the male flight attendant was still outside,

waiting for her.

       40.       As soon as she exited the bathroom, he went back into the same bathroom and

locked the door.

          The Flight Attendant Retains Possession of His Phone for Another Hour

       41.       Plaintiff quickly returned to her seat where she immediately showed the photograph

to her mother.



                                    6
      Case 3:23-cv-00819-FDW-DCK Document 1 Filed 12/01/23 Page 6 of 24
        42.     Once Plaintiff’s mother understood what had happened, she rushed to the front of

the plane to warn other passengers.

        43.     When Plaintiff’s mother reached the front of the airplane, another female passenger

was just about to enter the bathroom.

        44.     Plaintiff’s mother told the woman not to use the bathroom and explained what had

happened to her daughter.

        45.     Plaintiff’s mother looked into the bathroom that Plaintiff had used, but the phone

and the tape were both gone.

        46.     The female first-class flight attendant noticed the commotion and asked Plaintiff’s

mother what was happening.

        47.     Plaintiff’s mother explained everything to the first-class flight attendant.

        48.     The first-class flight attendant responded by saying: “This is very serious. I will

have to tell the pilot about this.”

        49.     Plaintiff and her mother then returned to row 14 and told Plaintiff’s father what had

happened.

        50.     Plaintiff’s father looked around to find the nearest flight attendant and noticed that

they were meeting in the back of the plane.

        51.     He immediately walked to the back of the plane where the four flight attendants

were gathered – the male flight attendant who had directed Plaintiff to use the first-class bathroom,

the female first-class flight attendant, and two other female flight attendants.

        52.     Plaintiff’s father approached the group and said: “What the hell just happened in

the first-class bathroom with my daughter?”

        53.     The other two female flight attendants looked shocked.




                                    7
      Case 3:23-cv-00819-FDW-DCK Document 1 Filed 12/01/23 Page 7 of 24
         54.    Plaintiff’s father showed them the photograph Plaintiff had taken and said: “Look

at this picture. Someone was filming my daughter in the first-class bathroom.”

         55.    Plaintiff’s father turned to the male flight attendant, on his righthand side, and said:

“You told her to go in there. I want to see your phone.”

         56.    The male flight attendant’s face drained of color. He said: “I don’t know what

you’re talking about. I have nothing to do with this.”

         57.    Plaintiff’s father repeated: “Show me your phone.”

         58.    The male flight attendant walked down the aisle toward the front of the plane,

ostensibly to get his phone.

         59.    In the meantime, Plaintiff’s father stayed in the back of the plane, speaking to the

other three, female flight attendants.

         60.    The two flight attendants who had not yet seen the photograph asked to do so and

Plaintiff’s father obliged.

         61.    Plaintiff’s father realized that the male flight attendant had not yet returned from

the front of the plane.

         62.    Plaintiff’s father looked down the aisle and saw the male flight attendant standing

in the aisle at the front of the plane, tapping furiously on his phone.

         63.    Plaintiff’s father rushed down the aisle and grabbed the man’s phone out of his

hands.

         64.    By the time Plaintiff’s father acquired the phone, it was locked.

         65.    The male flight attendant begrudgingly showed Plaintiff’s father the photos on his

phone, but Plaintiff’s father did not see anything that looked like his daughter using the bathroom.

         66.    Plaintiff’s father only had a cursory look at the flight attendant’s phone and was not




                                    8
      Case 3:23-cv-00819-FDW-DCK Document 1 Filed 12/01/23 Page 8 of 24
able to review the photos for more than a few moments.

       67.     The other three flight attendants said that they were going to inform the pilot.

       68.     At this point, it became clear to Plaintiff’s father that none of the flight attendants,

including the first-class flight attendant to whom Plaintiff’s mother initially reported the incident,

had informed the pilot.

       69.     Instead, the flight attendants waited to tell the pilot until after the male flight

attendant had already been aware that Plaintiff’s parents suspected him as the person who placed

the phone in the bathroom.

       70.     Plaintiff’s father returned to his seat.

       71.     Multiple of the female flight attendants approached Plaintiff’s father during the

second half of the flight and apologized for what had happened. They told Plaintiff’s father that

the male flight attendant would have his baggage searched upon landing.

       72.     However, none of the flight attendants or the pilot(s) seized the male flight

attendant’s phone.

       73.     During the approximately one-hour remaining portion of the flight, the male flight

attendant had complete, unfettered access to his phone.

       74.     In fact, the FBI informed Plaintiff’s mother that other flight attendants on the flight

reported that, after being confronted by Plaintiff’s father, the male flight attendant went into the

airplane bathroom, with his phone, for an extended period of time.

                     Law Enforcement Intercepts the Flight Upon Landing

       75.     When the flight landed in Boston, the pilot announced that everyone had to stay in

their seats because of a security issue.

       76.     One of the female flight attendants ushered Plaintiff and her family off the flight




                                    9
      Case 3:23-cv-00819-FDW-DCK Document 1 Filed 12/01/23 Page 9 of 24
before any of the other passengers.

         77.     Waiting for them in the jetway were approximately four to five Massachusetts law

enforcement officers, including a detective.

         78.     The law enforcement officers asked Plaintiff and her parents what had happened.

         79.     Plaintiff and her parents gave the flight attendants the relevant information, and

sent them Plaintiff’s photograph of the toilet seat.

         80.     One of the law enforcement officers asked an American Airlines representative,

who was also in the jetway, if there was any circumstance in which a passenger would have access

to the red tape that had been used to hold the phone.

         81.     The American Airlines representative replied that no, that tape was not accessible

to passengers.

         82.     The law enforcement officers then removed the male flight attendant from the

plane.

         83.     Shortly thereafter, the detective approached Plaintiff with a telephone and asked

her whether the phone looked like the phone she had seen a portion of, hidden under the tape.

         84.     Plaintiff confirmed that the phone did look the same – it was blue and had a case

with distinctive scratches or a pattern on it.

         85.     From there, the law enforcement officers took the family to the police station at the

airport where the family gave the officers more fulsome reports.

         86.     At the police station, the family also met with an FBI agent.

                                The Flight Attendant Remains Free

         87.     As soon as the family returned to Charlotte, Plaintiff’s mother contacted the FBI

agent to get an update on the status of the investigation.




                                    10
      Case 3:23-cv-00819-FDW-DCK Document 1 Filed 12/01/23 Page 10 of 24
        88.       The FBI agent informed her that law enforcement had not arrested the male flight

attendant because, by the time they searched his phone, they could not find any incriminating photo

or video on it.

        89.       The FBI agent told her that they would be trying to execute search warrants to

search the flight attendant’s phone more deeply, and to search other pieces of his luggage.

        90.       As of the filing of this complaint, Plaintiff has not received any update from law

enforcement indicating that those search warrants have been obtained or that anything further has

been found.

        91.       As of the filing of this complaint, the flight attendant has not been arrested.

        92.       Plaintiff does not know whether the flight attendant is still employed by American

Airlines, or whether he is still serving passengers on American Airlines flights.

        93.       As of the filing of this complaint, Plaintiff and her family have not received any

communications whatsoever from American Airlines.

                                The Effect of the Incident on Plaintiff

        94.       The incident Plaintiff experienced on her American Airlines flight has left her

deeply scarred.

        95.       As a direct result of the incident and American Airlines’ handling of the incident,

Plaintiff has suffered severe negative effects and continues to struggle greatly to this day.

        96.       She suffers from symptoms of post-traumatic stress disorder including, but not

limited to, depression, irritability, and anxiety.

        97.       Plaintiff is jumpy, nervous, and fearful in her interactions with other people.

        98.       She is also consistently worried about being in public by herself. For example,

when she runs outside for exercise, she insists on carrying a self-defense ring that has a small blade




                                    11
      Case 3:23-cv-00819-FDW-DCK Document 1 Filed 12/01/23 Page 11 of 24
inside of it.

        99.     Plaintiff also suffers from insomnia and nightmares.

        100.    All of these effects have impacted Plaintiff’s interpersonal relationships, including

her ability to trust adults tasked with ensuring her safety, such as teachers and other authority

figures.

        101.    Additionally, these effects have impacted Plaintiff’s schooling because she has

difficulty focusing on school-related tasks.

        102.    Furthermore, because the male flight attendant was not promptly arrested, due to

American Airlines’ failures in that regard, Plaintiff is persistently fearful of him.

        103.    She is scared he will try to find her or her family.

        104.    She is also extremely anxious about the fact the male flight attendant had access to

his phone for an entire hour after the incident and may have distributed any photograph or video

of her to other people or uploaded it on the internet.

        105.    She is devastated to think that there may be an image or video of her naked body,

using a toilet, circulating on the internet.

        106.    After the incident, Plaintiff began seeking the professional help of a therapist to

guide her through the trauma she is experiencing.

                                      CLAIMS FOR RELIEF

        107.    The male flight attendant, Doe 1, is indisputably liable for the damage suffered by

Plaintiff because: (1) he invaded her privacy; (2) he purposefully filmed her for the purpose of

arousing or gratifying sexual desire; and (3) he intentionally inflicted emotional distress on

Plaintiff.

        108.    American Airlines is also indisputably liable for the damage suffered by Plaintiff




                                    12
      Case 3:23-cv-00819-FDW-DCK Document 1 Filed 12/01/23 Page 12 of 24
because: (1) it negligently failed to prevent the incident and also negligently failed to take

immediate actions after the incident that would minimize its harm to Plaintiff; (2) it negligently

hired, supervised, and/or retained Doe 1; and (3) it negligently inflicted emotional distress on

Plaintiff.

                                    FIRST CLAIM FOR RELIEF
                                  Invasion of Privacy (Against Doe 1)

        109.       Plaintiff re-alleges and incorporates by reference the allegations set forth in each of

the preceding paragraphs of this Complaint as though fully set forth herein.

        110.       Plaintiff had a reasonable expectation of privacy while she was using the airplane

bathroom.

        111.       Doe 1, the male flight attendant, intruded upon Plaintiff’s privacy when he placed

a phone in the bathroom to film Plaintiff while she was using the toilet.

        112.       Doe 1’s intrusion was intentional.

        113.       Upon information and belief, Doe 1 did in fact film Plaintiff while she was using

the toilet in the bathroom, because Plaintiff did not discover the hidden camera until after she had

used the toilet.

        114.       A reasonable person, under the same or similar circumstances, would be highly

offended by such intrusion.

        115.       Plaintiff herself was highly offended by the intrusion and invasion of her privacy.

        116.       As a direct and proximate cause of Doe 1’s actions, Plaintiff has suffered damages

in an amount to be proven at trial.

        117.       Doe 1’s conduct was also malicious, willful, wanton, and done with a reckless

disregard for Plaintiff’s rights. Plaintiff therefore is entitled to recover punitive damages from Doe

1 pursuant to N.C.G.S. §§ 1D-1, et seq., in an amount to be determined at trial, sufficient to punish



                                    13
      Case 3:23-cv-00819-FDW-DCK Document 1 Filed 12/01/23 Page 13 of 24
Doe 1 for his wrongful conduct and to deter such conduct in the future by Doe 1 and others

similarly situated.

                                 SECOND CLAIM FOR RELIEF
               Civil Liability for Criminal Act of Secretly Peeping (Against Doe 1)

       118.     Plaintiff re-alleges and incorporates by reference the allegations set forth in each of

the preceding paragraphs of this Complaint as though fully set forth herein.

       119.     Doe 1, the male flight attendant, secretly or surreptitiously placed a mobile phone

camera in the airplane bathroom for the purposes of filming Plaintiff and viewing Plaintiff’s body

without her consent.

       120.     Upon information and belief, Doe 1 did so for the purpose of arousing or gratifying

the sexual desire of himself or another person.

       121.     As a direct and proximate cause of Doe 1’s actions, Plaintiff has suffered damages

in an amount to be proven at trial.

       122.     Doe 1’s conduct was also malicious, willful, wanton, and done with a reckless

disregard for Plaintiff’s rights. Plaintiff therefore is entitled to recover punitive damages from Doe

1 pursuant to N.C.G.S. §§ 1D-1, et seq., in an amount to be determined at trial, sufficient to punish

Doe 1 for his wrongful conduct and to deter such conduct in the future by Doe 1 and others

similarly situated. Plaintiff is also entitled to punitive damages against Doe 1 pursuant to N.C.G.S.

§ 14-202(k).

                                 THIRD CLAIM FOR RELIEF
                   Intentional Infliction of Emotional Distress (Against Doe 1)

       123.     Plaintiff re-alleges and incorporates by reference the allegations set forth in each of

the preceding paragraphs of this Complaint as though fully set forth herein.

       124.     Doe 1, the male flight attendant, secretly or surreptitiously placed a mobile phone




                                   14
     Case 3:23-cv-00819-FDW-DCK Document 1 Filed 12/01/23 Page 14 of 24
camera in the airplane bathroom for the purposes of filming Plaintiff and viewing Plaintiff’s body

without her consent.

       125.    Doe 1’s conduct was extreme and outrageous.

       126.    Doe 1’s conduct was intended to cause, or recklessly indifferent to the likelihood it

would cause, severe emotional distress to Plaintiff.

       127.    Doe 1’s conduct did cause severe emotional distress to Plaintiff. That emotional

distress includes, but is not limited to, the following:

               a. She suffers from symptoms of post-traumatic stress disorder including, but not

                   limited to, depression, irritability, and anxiety.

               b. She is jumpy, nervous, and fearful in her interactions with other people.

               c. She is also consistently worried about being in public by herself. For example,

                   when she runs outside for exercise, she insists on carrying a self-defense ring

                   that has a small blade inside of it.

               d. She also suffers from insomnia and nightmares.

               e. All of these effects have impacted Plaintiff’s interpersonal relationships,

                   including her ability to trust adults tasked with ensuring her safety, such as

                   teachers and other authority figures.

               f. Additionally, these effects have impacted Plaintiff’s schooling because she has

                   difficulty focusing on school-related tasks.

               g. Furthermore, because the male flight attendant was not promptly arrested, due

                   to American Airlines’ failures in that regard, Plaintiff is persistently fearful of

                   him.

               h. She is scared he will try to find her or her family.




                                   15
     Case 3:23-cv-00819-FDW-DCK Document 1 Filed 12/01/23 Page 15 of 24
               i. She is also extremely anxious about the fact the male flight attendant had access

                      to his phone for an entire hour after the incident and may have distributed any

                      photograph or video of her to other people or uploaded it on the internet.

               j. She is devastated to think that there may be an image or video of her naked

                      body, using a toilet, circulating on the internet.

       128.    As a direct and proximate cause of Doe 1’s actions, Plaintiff has suffered damages

in an amount to be proven at trial.

       129.    Doe 1’s conduct was also malicious, willful, wanton, and done with a reckless

disregard for Plaintiff’s rights. Plaintiff therefore is entitled to recover punitive damages from Doe

1 pursuant to N.C.G.S. §§ 1D-1, et seq., in an amount to be determined at trial, sufficient to punish

Doe 1 for his wrongful conduct and to deter such conduct in the future by Doe 1 and others

similarly situated.

                                 FOURTH CLAIM FOR RELIEF
                         Negligence (Against Defendant American Airlines)

       130.    Plaintiff re-alleges and incorporates by reference the allegations set forth in each of

the preceding paragraphs of this Complaint as though fully set forth herein.

       131.    American Airlines owed to Plaintiff the legal duty to exercise the highest degree of

care to avoid injuring a passenger during flight.

       132.    This duty required that American Airlines and its employees exercised the greatest

degree of care and foresight possible to ensure Plaintiff’s safe conveyance.

       133.    American Airlines breached that duty in multiple ways.

       134.    First, American Airlines breached that duty when it failed to confiscate the male

flight attendant’s phone for the second half of the flight, which has impeded the criminal case

against him.



                                   16
     Case 3:23-cv-00819-FDW-DCK Document 1 Filed 12/01/23 Page 16 of 24
       a. After hearing reports from both Plaintiff’s mother and Plaintiff’s father,

          American Airlines employees, including the three other flight attendants and/or

          the pilot(s), knew or should have known that the male flight attendant was the

          person who placed the phone in the bathroom.

       b. The other flight attendants and/or pilot(s) were confident enough that the male

          flight attendant was the one who placed the phone in the bathroom that they

          asked law enforcement to meet the plane upon landing, and identified the male

          flight attendant as the person who should be removed from the flight and

          questioned by law enforcement.

       c. Yet despite this knowledge, the other flight attendants and/or pilot(s) allowed

          the male flight attendant to have complete and unfettered access to his cell

          phone for approximately one hour after the incident and prior to the plane

          landing in Boston.

       d. During this time, the male flight attendant went into the airplane bathroom for

          a considerably long period of time.

       e. Upon landing, law enforcement was unable to find an incriminating image or

          video on the male flight attendant’s phone.

       f. Upon information and belief, the male flight attendant had ample time to delete

          or hide on his phone, any and all incriminating images or videos on his phone

          during that second half of the flight, when he had complete access to his phone.

       g. Law enforcement’s inability to immediately find an incriminating image or

          video on his phone has impeded the criminal investigation of the male flight

          attendant.




                              17
Case 3:23-cv-00819-FDW-DCK Document 1 Filed 12/01/23 Page 17 of 24
               h. Law enforcement’s inability to immediately find an incriminating image or

                  video on his phone prohibited law enforcement from promptly arresting the

                  male flight attendant and allowed him to remain free.

               i. Upon information and belief, law enforcement’s inability to immediately find

                  an incriminating image or video on his phone has allowed the male flight

                  attendant ample time to delete incriminating photos and videos from other

                  electronic devices he owns and/or to delete other incriminating evidence that

                  could be used against him.

       135.    Second, American Airlines breached its duty when it failed to confiscate the male

flight attendant’s phone for the second half of the flight, which gave him the opportunity to

disseminate any photo or video he took of Plaintiff.

               a. After hearing reports from both Plaintiff’s mother and Plaintiff’s father,

                  American Airlines employees, including the three other flight attendants and/or

                  the pilot(s), knew or should have known that the male flight attendant was the

                  person who placed the phone in the bathroom.

               b. The other flight attendants and/or pilot(s) were confident enough that the male

                  flight attendant was the one who placed the phone in the bathroom that they

                  asked law enforcement to meet the plane upon landing, and identified the male

                  flight attendant as the person who should be removed from the flight and

                  questioned by law enforcement.

               c. Yet despite this knowledge, the other flight attendants and/or pilot(s) allowed

                  the male flight attendant to have complete and unfettered access to his cell

                  phone for approximately one hour after the incident and prior to the plane




                                   18
     Case 3:23-cv-00819-FDW-DCK Document 1 Filed 12/01/23 Page 18 of 24
                 landing in Boston.

              d. During this time, the male flight attendant went into the airplane bathroom for

                 a considerably long period of time.

              e. The amount of during which the male flight attendant had his phone would have

                 allowed sufficient opportunity for him to disseminate to other people or

                 websites any photos or videos he took of Plaintiff.

              f. Upon information and belief, the male flight attendant may have texted or

                 emailed any photos or videos to other people.

              g. Upon information and belief, the male flight attendant may have uploaded any

                 photos or videos to the internet.

       136.   Third, American Airlines breached its duty because the first-class flight attendant

knew or should have known that Doe 1, the male flight attendant, was engaged in improper

behavior.

              a. The first-class cabin on flight 1441 was small with only a handful of seats.

              b. As the flight attendant assigned to that cabin, the first-class flight attendant

                 should have noticed that unusual and suspicious way in which the male flight

                 attendant was behaving.

              c. The first-class flight attendant knew or should have known that the male flight

                 attendant was instructing Plaintiff to use a bathroom that was not in her flight

                 cabin, guided her to that bathroom, went into the bathroom before her, said out

                 loud that the toilet seat was broken (when the first-class flight attendant knew

                 it was not broken), and waited outside the bathroom for her while Plaintiff was

                 using the bathroom.




                                   19
     Case 3:23-cv-00819-FDW-DCK Document 1 Filed 12/01/23 Page 19 of 24
        137.    American Airlines’ breaches of its duty to Plaintiff were an actual and proximate

cause of the injury Plaintiff suffered.

        138.    As a direct and proximate cause of American Airlines’ breaches, Plaintiff has

suffered damages in an amount to be proven at trial.

                              FIFTH CLAIM FOR RELIEF
    Negligent Hiring, Supervision, or Retention (Against Defendant American Airlines)

        139.    Plaintiff re-alleges and incorporates by reference the allegations set forth in each of

the preceding paragraphs of this Complaint as though fully set forth herein.

        140.    American Airlines owed to Plaintiff the legal duty to exercise the highest degree of

care to avoid injuring a passenger during flight.

        141.    This duty required that American Airlines and its employees exercised the greatest

degree of care and foresight possible to ensure Plaintiff’s safe conveyance.

        142.    American Airlines was required to use reasonable care in hiring, supervising, and

retaining employees who are competent and fitted for the work in which they are engaged.

        143.    Doe 1, the male flight attendant, was not competent or fitted for being a flight

attendant because he placed a hidden mobile phone in an airplane bathroom to secretly film

Plaintiff using the toilet.

        144.    Upon information and belief, American Airlines knew or should have known that

Doe 1 was unfit for any employment position at American Airlines.

        145.    Upon information and belief, multiple American Airlines employees knew or

should have known that Doe 1 engaged in inappropriate, sexual conduct prior to his filming of

Plaintiff.

        146.    Upon information and belief, American Airlines knew or should have known that

multiple American Airlines employees had complained about Doe 1’s inappropriate, sexual



                                    20
      Case 3:23-cv-00819-FDW-DCK Document 1 Filed 12/01/23 Page 20 of 24
conduct prior to his filming of Plaintiff.

       147.    Upon information and belief, American Airlines knew or should have known that

U.S. Customs and Border Protection had stopped Doe 1 for possession of inappropriate material

and/or for inappropriate, sexual conduct prior to his filming of Plaintiff.

       148.    Upon information and belief, American Airlines negligently supervised Doe 1 by,

among other things, failing to adequately investigate reports of his inappropriate behavior, failing

to report that behavior to law enforcement if appropriate, and failing to take appropriate steps to

increase supervision and observation of Doe 1 upon becoming aware of his inappropriate behavior.

       149.    Upon information and belief, American Airlines negligently retained Doe 1 by

allowing him to continue to remain his position of employment well after the time when American

Airlines knew or should have known of Doe 1’s inappropriate behavior.

       150.    Upon information and belief, American Airlines’ negligent supervision and

retention of Doe 1 allowed him to the opportunity to secretly film Plaintiff while she used the

airplane bathroom and was therefore a substantial factor in causing harm to Plaintiff.

       151.    As a direct and proximate cause of American Airlines’ actions and inactions,

Plaintiff has suffered damages in an amount to be proven at trial.

                               SIXTH CLAIM FOR RELIEF
     Negligent Infliction of Emotional Distress (Against Defendant American Airlines)

       152.    Plaintiff re-alleges and incorporates by reference the allegations set forth in each of

the preceding paragraphs of this Complaint as though fully set forth herein.

       153.    As set forth throughout this Complaint, American Airlines was negligent in its

handling of the incident, in failing to prevent the incident, in its supervision of Doe 1, and in its

retention of Doe 1.

       154.    Plaintiff suffered severe emotional distress as a result of American Airlines’



                                   21
     Case 3:23-cv-00819-FDW-DCK Document 1 Filed 12/01/23 Page 21 of 24
negligence. That emotional distress includes but is not limited to the following:

               a. She suffers from symptoms of post-traumatic stress disorder including, but not

                   limited to, depression, irritability, and anxiety.

               b. She is jumpy, nervous, and fearful in her interactions with other people.

               c. She is also consistently worried about being in public by herself. For example,

                   when she runs outside for exercise, she insists on carrying a self-defense ring

                   that has a small blade inside of it.

               d. She also suffers from insomnia and nightmares.

               e. All of these effects have impacted Plaintiff’s interpersonal relationships,

                   including her ability to trust adults tasked with ensuring her safety, such as

                   teachers and other authority figures.

               f. Additionally, these effects have impacted Plaintiff’s schooling because she has

                   difficulty focusing on school-related tasks.

               g. Furthermore, because the male flight attendant was not promptly arrested, due

                   to American Airlines’ failures in that regard, Plaintiff is persistently fearful of

                   him.

               h. She is scared he will try to find her or her family.

               i. She is also extremely anxious about the fact the male flight attendant had access

                   to his phone for an entire hour after the incident and may have distributed any

                   photograph or video of her to other people or uploaded it on the internet.

               j. She is devastated to think that there may be an image or video of her naked

                   body, using a toilet, circulating on the internet.

       155.    American Airlines’ negligence was a proximate cause of Plaintiff’s severe




                                   22
     Case 3:23-cv-00819-FDW-DCK Document 1 Filed 12/01/23 Page 22 of 24
emotional distress.

       156.    As a direct and proximate cause of American Airlines’ negligence, Plaintiff has

suffered damages in an amount to be proven at trial.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays the Court for the following relief against Defendants:

       1.      For monetary damages according to proof;

       2.      For pre- and post-judgment interest on money damages allowed by law;

       3.      For costs of suit herein, including attorneys’ fees, to the maximum extent allowed

by law; and

       4.      For punitive damages against Doe 1, pursuant to N.C.G.S. §§ 1D-1, et seq. and

N.C.G.S. § 14-202(k);

       5.      That the Court tax the costs of this action against Defendants;

       6.      That all issues triable by jury be so tried; and

       7.      For all other relief, both legal and equitable, which the Court deems just and proper.




                        [SIGNATURES ON THE FOLLOWING PAGE]




                                   23
     Case 3:23-cv-00819-FDW-DCK Document 1 Filed 12/01/23 Page 23 of 24
 This the 1st day of December, 2023.
                                       JAMES, McELROY & DIEHL, P.A.

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                              24
Case 3:23-cv-00819-FDW-DCK Document 1 Filed 12/01/23 Page 24 of 24
